            Case 1:19-cv-07518-MKV Document 14 Filed 11/22/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Mercury Public Affairs LLC,

                Plaintiff,                                     19 Civ. 7518 (VSB)
-against-
                                                      NOTICE OF MOTION TO DISMISS
Airbus Defence and Space, S.A.U., f/k/a Airbus
Military and Airbus Defense and Space, Inc.,

                Defendants.



       PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law and

the parties’ pleadings, Defendants Airbus Defence and Space, S.A.U. and Airbus U.S. Space and

Defense, Inc. f/k/a Airbus Defense and Space, Inc. hereby respectfully move this Court, before

the Honorable Vernon S. Broderick, United States District Judge, for an order dismissing this

action pursuant to Rules 12(b)(1) and 12(b)(2) of the Federal Rules of Civil Procedure.



Dated: November 22, 2019                         Respectfully submitted,
       New York, New York
                                                  s/ Jeff E. Butler   .
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                                                 Attorneys for Airbus Defence and Space,
                                                 S.A.U. and Airbus U.S. Space & Defense,
                                                 Inc. f/k/a Airbus Defense and Space, Inc.
